                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

JANE DOE,                                       §
                                                §
       Plaintiff,                               §
                                                §
V.                                              §        CA NO. 7:19-CV-00309
                                                §
                                                §
                                                §
EDINBURG CONSOLIDATED                           §
INDEPENDENT SCHOOL DISTRICT,                    §
                                                §
       Defendant.                               §

     PLAINTIFF’S REPLY TO DEFENDANT EDINBURG CISD’S RESPONSE TO
                          MOTION TO COMPEL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Plaintiff, Jane Doe, and files her Reply to Defendant Edinburg CISD’s

Response to Motion to Compel. Plaintiff would respectfully show this Court the following:

                           I.     ARGUMENT AND AUTHORITIES

       It is curious that Defendant claims it has been compliant and forthcoming with documents

throughout the discovery process. This claim is factually inaccurate. Defendant failed to mention

in its Response to Plaintiff’s Motion that Plaintiff was required to send a discovery deficiency

letter when Defendant refused to produce documents and answer interrogatories after lodging

improper objections. Only after Plaintiff sent the discovery deficiency letter and informed

Defendant it was filing a motion to compel did Defendant supplement with some more documents

and supplement some answers to interrogatories. Furthermore, Plaintiff also produced a

declaration by Erika Martinez, a former Robert Vela High School student, who filed a formal

complaint against Francisco Badillo, the teacher who sexually assaulted the Plaintiff in this case




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and who was ultimately convicted in August 2019 and sentenced to prison for the incidents made

the basis of this lawsuit.

        In the declaration, Ms. Martinez stated she filled out an affidavit in the presence of former

Assistant Principals of Robert Vela High School, Jennifer Culbertson and Francisco Lumbreras,

in April 2017, before Jane Doe’s incidents with Mr. Badillo. Defendant had claimed that no such

affidavit existed in its initial responses to Plaintiff’s requests, which was false. Once again, only

after Plaintiff produced the declaration by Ms. Martinez did Defendant then supplement the

affidavit and formal complaint filed by Ms. Martinez which was apparently in its possession all

along. To that end, this conduct leads Plaintiff to wonder what other documents Defendant has in

its possession that it claims it does not possess.

        Defendant also conveniently failed to mention that Defendant’s counsel called Plaintiff’s

counsel back in February 2020 and during the telephone conversation, Defendant stated it was in

the process of gathering the teachers’ personnel files to produce to Plaintiff but they would have

to redact certain information and mentioned that the files were quite large and it would take some

time to produce them to Plaintiff. Plaintiff took Defendant’s counsel at his word that they would

produce documents. Now, Defendant is saying that it is flat out refusing to produce such files when

they are pertinent to this case.

        These personnel files are highly relevant as the teachers from whom Plaintiff requests the

files were interviewed by the police for this incident and provided sworn affidavits pertaining to

the incident. These teachers personally knew Plaintiff. Upon information and belief, certain

teachers filed complaints against Francisco Badillo which would be included in their personnel

files. Furthermore, any disciplinary history of the teachers would be included in their personnel

files. This disciplinary history is highly relevant as it goes to show whether these teachers were




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following the rules to keep children safe from a hostile learning environment and an environment

free of abuse. These personnel files will also show possible criminal history of the teachers which

goes towards safety and the type of staff Edinburg CISD employs to be around minor children.

Defendant had no problem producing Mr. Badillo’s personnel file to Plaintiff upon request and so

its objections to the other teachers’ personnel files are exceedingly arbitrary.

       For example, Mr. Lumbreras testified in his deposition that he was not disciplined for Jane

Doe’s incident while at Edinburg CISD. Mr. Lumbreras has since now retired. Mr. Lumbreras put

his disciplinary history into question and Plaintiff is entitled to his personnel files to see whether

Mr. Lumbreras is telling the truth. Mr. Lumberas was Mr. Badillo’s supervisor during the incident

and so his personnel files are even more significant.

       Regardless, Defendant’s objections are improper as Plaintiff explained in her motion to

compel as her requests do not violate privacy rights nor do they violate the Family Educational

Rights and Privacy Act (FERPA). See Plaintiff’s Motion to Compel on file with this Court, pp. 4,

5, 6, Notably, Defendant did not provide an argument to dispute Plaintiff’s explanation for why

her requests do not violate FERPA in her Motion to Compel. See Defendant’s Response on file

with this Court, p.4. Defendant simply makes a blanket statement that “personal privacy rights”

are “invaded” without any further support for the argument.

       The 2013 sexual assault investigation against Miguel Condes, a former Edinburg CISD

teacher, is very much related as well as other prior complaints against staff and students at

Edinburg CISD as it goes towards notice, which is a key component of a Title IX cause of action.

Prior complaints are highly relevant. Miguel Condes was convicted of an improper relationship

between an educator and student on December 11, 2013 after he sexually abused a minor female

student at Harwell Middle School in March 2013. If Defendant Edinburg CISD was on notice of




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prior sexual assaults of minor students by Edinburg CISD teachers and/or students, which it seems

is the case, and yet did nothing to prevent future incidents such as Jane Doe’s in this case, then this

is something Plaintiff is entitled to know. Furthermore, certain policies Edinburg CISD had in

place goes toward Plaintiff’s claims as Plaintiff needs to show whether Edinburg CISD had an

adequate policy in place to prevent sexual abuse and whether Edinburg CISD did anything to

change or improve that policy after several sexual assaults at the school prior to Jane Doe’s

incident. The prior incidents may involve different employees and different students but it involves

the same organization, Edinburg CISD, the Defendant in this case. Plaintiff is already aware of

two prior incidents of sexual assault involving teachers and minor students at Edinburg CISD to

which Plaintiff has made Defendant aware, one resulting in a conviction and one resulting in a

civil lawsuit. The civil lawsuit involved a minor male student Matthew Twist against a female

teacher Catherine Norquest who sexually abused the student in 1999-2000 while a teacher at

Edinburg North High School. Defendant needs to be forthcoming just as Plaintiff has been

throughout this process. These complaints are all interrelated to show whether there was a

systemic problem at Edinburg CISD of sexual assault and sexual harassment.

                                        II.     CONCLUSION

       Plaintiff is always willing to confer in good faith with Defendant’s counsel regarding

discovery disputes. However, when Defendant continues to improperly withhold documents that

frustrates Plaintiff’s counsel’s ability to effectively and properly litigate this case, Plaintiff

respectfully submits that a Court order compelling Defendant to produce documents and respond

to interrogatories is necessary.




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       THEREFORE, Plaintiff respectfully requests that the Court GRANT Plaintiff’s Motion to

Compel and ORDER Defendant to immediately comply with its discovery obligations by fully

responding to Plaintiffs’ discovery requests.




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                                             Respectfully submitted,

                                             THE BUZBEE LAW FIRM

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                                               ATTORNEYS FOR PLAINTIFF


                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this document has been duly served on all

counsel of record in accordance with the Federal Rules of Civil Procedure on June 1, 2020.



                                            /s/ Cornelia Brandfield-Harvey
                                              Cornelia Brandfield-Harvey




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